        Case 21-13236-mdc                        Doc          Filed 03/18/24 Entered 03/18/24 11:44:40                                        Desc Main
                                                              Document      Page 1 of 7
 Fill in this information to identify the case:

 Debtor 1              Sharon Smith

 Debtor 2
 (Spouse, if filing)


 United States Bankruptcy Court for the: Eastern District of Pennsylvania (Philadelphia)
                                                                                           (State)
 Case number           21-13236




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                          12/15
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


   Name of creditor: Wilmington Savings Fund Society, FSB, as                                  Court claim no. (if known): 23
Trustee of Stanwich Mortgage Loan Trust I


   Last 4 digits of any number you use to                                                      Date of payment change:
   identify the debtor's account:                            XXXXXX2794                        Must be at least 21 days after date       5/01/2024
                                                                                               of this notice


                                                                                               New total payment:                        $ 549.62
                                                                                               Principal, interest, and escrow, if any

 Part 1:        Escrow Account Payment Adjustment


 1. Will there be a change in the debtor's escrow account payment?
            No
      ✓     Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                 the basis for the change. If a statement is not attached, explain why:


                       Current escrow payment:            $ 202.91                                           New escrow payment: $ 170.09


 Part 2:        Mortgage Payment Adjustment


 2.     Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
        variable-rate account?
      ✓     No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                 attached, explain why:


                       Current interest rate                                    %                            New interest rate:                      %

                       Current principal and interest payment: $                                             New principal and interest payment: $


 Part 3:        Other Payment Change




Official Form 410S1                                                    Notice of Mortgage Payment Change                                                 page 1
      Case 21-13236-mdc                Doc         Filed 03/18/24 Entered 03/18/24 11:44:40                          Desc Main
                                                   Document      Page 2 of 7
 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
     ✓   No
         Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
              (Court approval may be required before the payment change can take effect.)
              Reason for change:
              Current mortgage payment:        $                                      New mortgage payment: $




Official Form 410S1                                      Notice of Mortgage Payment Change                                          page 2
        Case 21-13236-mdc                             Doc       Filed 03/18/24 Entered 03/18/24 11:44:40                    Desc Main
                                                                Document      Page 3 of 7
Debtor 1           Sharon Smith                                                           Case number (if known) 21-13236
                   First Name        Middle Name        Last Name




 Part 4:        Sign Here



    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
    telephone number.
    Check the appropriate box:
             I am the creditor.
    ✓        I am the creditor's attorney or authorized agent.


    I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
    knowledge, information, and reasonable belief:



      /s/ Randall Miller                                                                       Date March,14, 2024
    Signature



    Print:                 Randall Miller__                                                   Title     Agent
                           First Name                  Middle Name      Last Name



    Company                Carrington Mortgage Services, LLC



    Address                43252 Woodward Avenue, Suite180______________________________
                           Number              Street

                           Bloomfield Hills, MI 48302______________________________________
                           City                                        State       ZIP Code



Contact phone              (248) 335-9200     Email         bankruptcy@rsmalaw.com




Official Form 410S1                                                    Notice of Mortgage Payment Change                            page 3
Case 21-13236-mdc    Doc MORTGAGE
                CARRINGTON     FiledSERVICES,
                                      03/18/24LLC   Entered 03/18/24 11:44:40                                                               Desc Main
                P.O. Box 5001
                               Document
                Westfield, IN 46074               Page 4 of 7
      (800) 561-4567           FAX: (949) 517-5220




                                                                /P1                /   680
      SHARON SMITH                                                                     YOUR LOAN NUMBER :
      217 W SPENCER AVE
                                                                                       DATE: 02/23/24
      PHILADELPHIA                  PA 19120




      *** ANNUAL ESCROW ACCOUNT DISCLOSURE STATEM ENT - LAST CYCLES ESCROW ACCOUNT HISTORY                                            ***

      THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE
      ACTUAL ESCROW ACTIVITY BEGINNING MAY, 2023 AND ENDING APRIL, 2024. IF YOUR LOAN
      WAS PAID-OFF, ASSUMED, OR TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS
      BEING CHANGED, ACTUAL ACTIVITY STOPS AT THAT POINT. THIS STATEMENT IS INFORMATIONAL ONLY
      AND REQUIRES NO ACTION ON YOUR PART.
                                 - - - Y O UR PAY M E NT BR E AK DO WN AS OF M AY, 2 02 3 I S - - -
                                 PRIN & INTEREST                                       379.53
                                 ESCROW PAYMENT                                        203.88
                                 SURPLUS REDUCTN                                         0.97-
                                 TOTAL                                                 582.44
                  -- PAYMENTS TO ESCROW --     -- PAYMENTS FROM ESCROW --               -- ESCROW BALANCE --
      MONTH       PRIOR PROJECTED ACTUAL PRIOR PROJECTED DESCRIPTION ACTUAL DESCRIPTION PRIOR PROJECTED ACTUAL
                                                                              STARTING BALANCE  = = = >        1560.16           1760.77
      MAY            203.88 *         202.91             9.60 *       FHA INSURA        9.60 FHA MTG. I        1754.44            596.25 ALP
                                               0                                     1357.83 HOME INSUR
      JUN            203.88 *         202.91         1560.16 *        HOMEOWNERS        8.42 FHA MTG. I         388.56 TLP        790.74
                                               0        9.60          FHA INSURA
      JUL            203.88 *         202.91            9.60 *        FHA INSURA         8.42     FHA MTG. I    582.84            985.23
      AUG            203.88 *         202.91            9.60 *        FHA INSURA         8.42     FHA MTG. I    777.12           1179.72
      SEP            203.88 *         202.91            9.60 *        FHA INSURA         8.42     FHA MTG. I    971.40           1374.21
      OCT            203.88 *         202.91            9.60 *        FHA INSURA         8.42     FHA MTG. I   1165.68           1568.70
      NOV            203.88 *         202.91            9.60 *        FHA INSURA         8.42     FHA MTG. I   1359.96           1763.19
      DEC            203.88 *         202.91            9.60 *        FHA INSURA         8.42     FHA MTG. I   1554.24           1957.68
      JAN            203.88 *         202.91            9.60 *        FHA INSURA         8.42     FHA MTG. I   1748.52           2152.17
      FEB            203.88 *         202.91            9.60 *        FHA INSURA         8.42     FHA MTG. I   1942.80           1551.17
                                               0                                       795.49     ESCROW SUR
      MAR            203.88                    E         9.60         FHA INSURA                               1365.79           1551.17
                                               0       771.29         CITY TAX
      APR           203.88                     E         9.60         FHA INSURA                               1560.07           1551.17
      TOT          2446.56           2029.10          2446.65                          2238.70
      UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHES ITS LOWEST POINT, THAT BALANCE IS TARGETED
      NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE LAW MAY
      SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.
      UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT ESCROW BALANCE
      (TLP) WAS $388.56. YOUR ACTUAL LOW POINT ESCROW BALANCE (ALP) WAS $596.25.
      BY COMPARING THE PROJECTED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN
      DETERMINE WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE
      AMOUNT OR DATE OF THE PROJECTED ACTIVITY AND THE ACTUAL ACTIVITY.
      THE LETTER "E" BESIDE AN AMOUNT INDICATES THAT THE PROJECTED ACTIVITY HAS NOT YET OCCURRED DUE TO THE
      DATE OF THIS STATEMENT.
      IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION
      TO WHICH THE ACTUAL ACTIVITY COULD BE COMPARED.
      Your projected escrow balance consists of the following detail (an * next to an amount
      indicates this is a total that represents more than one payment to or disbursement from escrow):

      Escrow payments up to escrow analy sis effectiv e date:
      04/23               $209.70          /                                   /




                 ***     ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - PROJECTIONS                              ***
                 PLE ASE RE VIE W T HIS ST ATE MEN T C LO SEL Y - YO UR MOR TGA G E P AYM ENT MA Y B E A FFE CTE D.
      THI S S TAT EME NT TEL LS YOU OF AN Y CHA NGE S I N Y OUR MO RTGA GE PAY MEN T, ANY SU RPL US REF UN DS, OR
      ANY SH ORT AGE OR DE FIC IEN CY THA T YOU MU ST PAY . I T A LSO SHO WS YOU TH E P ROJ ECT ED ESC RO W
      ACT IVI TY FOR YO UR ESC ROW CY CLE B EGI NNI NG MAY, 20 24 AND EN DIN G A PRI L, 2 025.
      ---------------------   PROJECTED PAYM ENTS FROM ESCROW - M AY, 2024 THROUGH APRIL,2025                        --------------
                                 HOME INSURANCE                                        1,357.83
                                 FHA MTG. INS.                                           101.04
                                 CITY TAX                                                582.32

                                 TOTAL                                                 2,041.19
                                 PERIODIC PAYMENT TO ESCROW                              170.09       (1/12 OF "TOTAL FROM ESCROW")

                                                   * * * * CONTINUED ON NEXT PAGE * * * *
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                                                * * * * CONTINUATIONPage
                                                                    **** 5 of 7

     --------- -------- --- PROJECT ED ESCROW ACT IVITY - M AY, 2024 T HROUGH APRIL, 2025 ------- -------- --------
                     ---- PROJECTED PAYM ENTS --                            -- ESCROW BALANCE COM PARISON --
     MONTH           TO ESCROW        FROM ESCROW       DESCRIPTION        PROJECTED          REQUIRED
                                       ACTUAL STARTING BALANCE = = = >      2,153.32           1,357.83
     MAY,24        170.09                 8.42         FHA MTG. INS.                2,314.99             1,519.50
     JUN,24        170.09             1,357.83         HOME INSURANCE               1,118.83 ALP           323.34 RLP
                                          8.42         FHA MTG. INS.
     JUL,24        170.09                 8.42         FHA MTG. INS.                1,280.50               485.01
     AUG,24        170.09                 8.42         FHA MTG. INS.                1,442.17               646.68
     SEP,24        170.09                 8.42         FHA MTG. INS.                1,603.84               808.35
     OCT,24        170.09                 8.42         FHA MTG. INS.                1,765.51               970.02
     NOV,24        170.09                 8.42         FHA MTG. INS.                1,927.18             1,131.69
     DEC,24        170.09                 8.42         FHA MTG. INS.                2,088.85             1,293.36
     JAN,25        170.09                 8.42         FHA MTG. INS.                2,250.52             1,455.03
     FEB,25        170.09                 8.42         FHA MTG. INS.                2,412.19             1,616.70
     MAR,25        170.09                 8.42         FHA MTG. INS.                1,991.54             1,196.05
                                        582.32         CITY TAX
     APR,25        170.09                 8.42         FHA MTG. INS.                2,153.21             1,357.72

     --------------------------------- DETERM INING THE SUFFICIENCY OF YOUR ESCROW BALANCE -----------------------------------

     IF THE PROJECTED LOW POINT BALANCE (ALP) IS
     GREATER THAN THE REQUIRED LOW POINT BALANCE (RLP) ,
     THEN THERE IS AN ESCROW SURPLUS....                                        THE ESCROW SURPLUS IS....                  795.49 *


     AT THE TIME OF YOUR BANKRUPTCY FILING, YOUR ESCROW SHORTAGE INCLUDED IN THE POC (PROOF OF CLAIM) IS $0.00.

     *The statement assumes all past due payments have been made toward the loan. If there are past due payments,
     this amount may not be accurate.
     FED ERA L L AW REQ UIR ES ANY SU RPL US OF $5 0.0 0 O R M ORE BE AUT OMA TIC ALL Y R EFU NDE D T O Y OU .

     ------------------------------------- CALCULATIONS OF YOUR NEW PAYMENT AMOUNT ------------------------------------------------
                               PRIN & INTEREST                              379.53 *
                               ESCROW PAYMENT                               170.09
     BORROWER PAYMENT STARTING WITH THE PAYMENT DUE          05/01/24      ==>            549.62

     * IF YOUR LOAN IS AN ADJUSTABLE RATE MORTGAGE, THE PRINCIPAL & INTEREST PORTION OF
       YOUR PAYMENT MAY CHANGE WITHIN THIS CYCLE IN ACCORDANCE WITH YOUR LOAN DOCUMENTS.
     NOTE :       YOU R E SCR OW BAL ANC E M AY CON TAI N A C USH ION . A CU SHI ON I S A N A MOU NT OF MON EY
                  HEL D I N Y OUR ES CRO W A CCO UNT TO P REV ENT YO UR ESC ROW BAL ANC E F ROM BE ING OV ERD RAW N
                  WHE N I NCR EAS ES IN THE DI SBU RSE ME NTS OC CUR . F EDE RAL LAW AU THO RIZ ES A M AXI MUM
                  ESC ROW CU SHI ON NOT TO EX CEE D 1 /6 TH OF THE TO TAL AN NUAL PR OJE CTE D E SCR OW
                  DIS BUR SEM ENT S M ADE DU RIN G T HE AB OVE CY CLE . T HIS AM OUNT IS $4 07. 77.
                  YOU R L OAN DO CUM ENT S O R S TAT E L AW MA Y R EQU IRE A LES SER CUS HIO N. YOU R M ORT GAG E
                  CON TRA CT AND ST ATE LA W A RE SIL EN T O N T HIS IS SUE . W HEN YOU R E SCR OW BAL ANC E
                  REA CHE S I TS LOW EST PO INT DU RIN G THE AB OVE CY CLE , T HAT BAL ANC E I S T ARG ETE D
                  TO BE YOU R C USH ION AM OUN T.
                  YOU R E SCR OW CUS HIO N F OR THI S C YC LE IS $32 3.3 4.
      YOUR PROJECTED ESCROW BALANCE CONSISTS OF THE FOLLOWING DETAIL (AN * NEXT TO AN AMOUNT INDICATES
      THIS IS A TOTAL THAT REPRESENTS MORE THAN ONE PAYMENT TO OR DISBURSEMENT FROM ESCROW):

      Escrow payments up to escrow analy sis effectiv e date:
      03/24         $202.91               04/24            $202.91

      Escrow disbur sements up t o escr ow analy sis effectiv e date:
      03/24           $8.42      FHA MTG. INS.
      04/24           $8.42      FHA MTG. INS.
      03/24         $582.32      CITY TAX



     -VERBAL INQUIRIES & COMPLAINTS-
     For verbal inquiries and complaints about your mortgage loan, please contact the CUSTOMER SERVICE DEPARTMENT
     for Carrington Mortgage Services, LLC, by calling 1-800-561-4567. The CUSTOMER SERVICE DEPARTMENT for
     Carrington Mortgage Services, LLC is toll free and you may call from 8:00 a.m. to 8:00 p.m. Eastern Time,
     Monday through Friday. You may also visit our website at https://carringtonmortgage.com/ .

     -IMPORTANT BANKRUPTCY NOTICE-
     If yo u ha ve b ee n di sc ha rg ed f ro m pe rs on al l ia bi li ty on t he m or tg ag e be ca us e of b an kr uptcy
     pro ce ed in gs a nd h av e no t re af fi rm ed t he m or tg ag e, o r i f yo u ar e th e su bj ec t of a p en ding
     ban kr up tc y pr oc ee di ng , th is l et te r is n ot a n at te mp t t o co ll ec t a de bt f ro m yo u bu t merely
     pro vi de s in fo rm at io na l no ti ce r eg ar di ng t he s ta tu s of th e lo an .  I f yo u ar e re pr es en ted by
     an at to rn ey w it h re sp ec t to y ou r mo rt ga ge , pl ea se f orw ar d th is d oc um en t to y ou r at to rney.


     -CREDIT REPORTING AND DIRECT DISPUTES-
     We ma y re po rt i nf or ma ti on a bo ut y ou r ac co un t to c re dit b ur ea us . La te p ay me nt s, m is se d payments,
     or ot he r de fa ul ts o n yo ur a cc ou nt m ay b e re fl ec te d in yo ur c re di t re po rt .     A s re qu ir ed by law,
     you a re h er eb y no ti fi ed t ha t a ne ga ti ve c re di t re po rt re fl ec ti ng o n yo ur c re di t re co rd may be
     sub mi tt ed t o a cr ed it r ep or ti ng a ge nc y if y ou f ai l to fu lf il l th e te rm s of y ou r cr ed it
     obl ig at io ns . If y ou h av e co nc er ns r eg ar di ng t he a cc ura cy o f an y in fo rm at io n co nt ai ne d in a
     con su me r re po rt p er ta in in g to t hi s ac co un t, y ou m ay se nd a d ir ec t di sp ut e to C ar ri ng ton
     Mor tg ag e Se rv ic es , LL C by f ax t o 80 0- 48 6- 51 34 o r in wr it in g to C ar ri ng to n Mo rt ga ge S ervices,
     LLC , an d At te nt io n: C us to me r Se rv ic e, P .O . Bo x 50 01 , W es tf ie ld , IN 4 60 74 . Pl ea se i nc lude your
     loa n nu mb er o n al l pa ge s of t he c or re sp on de nc e.

     -MINI MIRANDA-
     Thi s co mm un ic at io n is f ro m a de bt c ol le ct or a nd i t is fo r th e pu rp os e of c ol le ct in g a debt and
     any i nf or ma ti on o bt ai ne d wi ll b e us ed f or t ha t pu rp ose . Th is n ot ic e is r eq ui re d by t he
     pro vi si on s of t he F ai r De bt C ol le ct io n Pr ac ti ce s Ac t a nd d oe s no t im pl y th at w e ar e attempting
     to co ll ec t mo ne y fr om a ny on e wh o ha s di sc ha rg ed t he de bt u nd er t he b an kr up tc y la ws o f the
     Uni te d St at es .

     -HUD COUNSELOR INFORM ATION-
     If you wo uld li ke cou nse lin g o r ass ist anc e, you ma y ob tai n a li st of HUD -ap pro ved h ome own ers hip
     cou nse lor s o r c oun sel ing or gan iz ati ons in yo ur are a by ca lli ng the HU D n ati onw ide t oll -fr ee
     tel eph one nu mbe r a t ( 800 ) 5 69- 42 87 or tol l-f ree TD D (8 00) 87 7-8 339 , o r b y g oin g t o
     htt p:/ /ww w.h ud. gov /of fic es/ hsg /s fh/ hcc /hc s.c fm . Y ou can al so con tac t t he CFP B at (85 5) 411 -23 72, or
     by goi ng to www .co nsu mer fin anc e. gov /fi nd- a-h ous ing - cou nse lor .




                                               * * * * CONTINUED ON NEXT PAGE * * * *
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                           CARRINGTON MORTGAGE SERVICES
                           P.O. BOX 5001
                                                         Page 6 of 7
                           Westfield, IN 46074


  (800) 561-4567 FAX: (949) 517-5220




                                                                          YOUR LOAN NUMBER :
                                                                          DATE: 02/23/24



          -EQUAL CREDIT OPPORTUNITY ACT NOTICE-
          The F ed er al E qu al Credit Opportunity Act proh ib it s creditors from disc ri mi na ti ng a ga in st c re di t
          app li ca nt s on t he basis of race, color, relig io n, n ational origin, sex , ma ri ta l st at us , or a ge
          (pr ov id ed t he a pp licant has the capacity to e nt er i nto a binding contr ac t) ; be ca us e al l or p ar t
          of th e ap pl ic an t’ s income derives from any pu bl ic a ssistance program; or b ec au se t he a pp li ca nt
          has , in g oo d fa it h, exercised any right under t he C onsumer Credit Prot ec ti on A ct . Th e Fe de ra l
          Age nc y th at a dm in isters Carrington Mortgage S er vi ce s, LLC's compliance w it h th is l aw i s th e
          Fed er al T ra de C om mission, Equal Credit Opport un it y, Washington, DC 205 80 .

          -SCRA DISCLOSURE-
          MILITARY PERSONNEL/SERVICEMEMBERS:    If you or your spouse is a member of the military, please contact us
          immediately. The federal Servicemembers Civil Relief Act and comparable state laws afford significant protections
          and benefits to eligible military service personnel, including protections from foreclosure as well as interest
          rate relief. For additional information and to determine eligibility please contact our Military Assistance Team
          toll free at 1-888-267-5474.

          -NOTICES OF ERROR AND INFORMATION REQUESTS, QUALIFIED WRITTEN REQUESTS (QWR)-
          Written complaints and inquiries classified as Notices of Error and Information Requests or QWRs must be submitted
          to Carrington Mortgage Services, LLC by fax to 800-486-5134, or in writing to Carrington Mortgage Services, LLC,
          and Attention: Customer Service, P.O. Box 5001, Westfield, IN 46074. Please include your loan number on all pages
          of the correspondence.   You have the right to request documents we relied upon in reaching our determination. You
          may request such documents or receive further assistance by contacting the CUSTOMER SERVICE DEPARTMENT for
          Carrington Mortgage Services, LLC toll free at (800) 561-4567, Monday through Friday, 8:00 a.m. to 8:00 p.m.
          Eastern Time. You may also visit our website at https://carringtonmortgage.com/
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                      UNITED STATES BANKRUPTCY COURT
              EASTERN DISTRICT OF PENNSYLVANIA (PHILADELPHIA)
                 _______________________________________________

In Re:                                                              Case No: 21-13236 - Chapter: 13
                                                                      Judge: Magdeline D. Coleman
Sharon Smith

                      Debtor



                          CERTIFICATE OF SERVICE
______________________________________________________________________________

        The undersigned states that on March 18, 2024, copies of the Notice of Mortgage Payment
Change were served upon the following parties via first class mail, with proper postage affixed thereto
the Debtors and via the Court's CM-ECF electronic filing system to the Debtor's Attorney and Chapter 13
Trustee.

Sharon Smith                       Debtor's Attorney                Chapter 13 Trustee
217 W. Spencer Avenue              Michael I. Assad                 Kenneth E. West
Philadelphia, PA 19120             1500 Walnut St                   1234 Market Street
                                   Ste 900                          Suite 1813
                                   Philadelphia, PA 19102           Philadelphia, PA 19107


                                                                    U.S. Trustee - United States Trustee
                                                                    900 Market Street
                                                                    Suite 320
                                                                    Philadelphia, PA 19107




The above is true to the best of my information, knowledge and belief.

                                                     Signed: /s/ Randall Miller
                                                     Randall Miller
                                                     43252 Woodward Avenue, Suite 180
                                                     Bloomfield Hills, MI 48302
                                                     Telephone (248) 335-9200
